                  Case 4:13-cr-00007-JRH-CLR Document 915 Filed 11/19/19 Page 1 of 1

GASD First Step Act Order Regarding Moiion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B)         Page I of2(Page 2 Not for Public Disclosure)

                                        United States District Court
                                                                         for the

                                                       Southern       District of   Georgia
                                                                  Savannah Division


                    United States of America
                                   V.                                      )
                                                                           ) CaseNo:            4:l3-cr-00007-I2
                          Leroy Chisholm                                   )
                                                                           ) USMNo: 17923-021
Date of Original Judgment:                         Februaiy 21,2014        )
Date of Previous Amended Judgment: Not applicable                           ^ Mark A, Hendrix
(Use Date ofLast Amended Judgmeni ifAny)                                         Defendant s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                         PURSUANT TO 18 U.S.C.§ 3582(c)(1)(B)

          Upon motion of S the defendant □ the Director of the Bureau of Prisons Q the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.I0 and the
sentencing factors set forth in i 8 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ^ DENIED. Q GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the lastjudgment issued) of                   months is reduced to                                       .
                             (See Page 2 for additional parts. Complete Pans I and II of Page 2 when motion is granted)            o
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Except as otherwise provided, all provisions of the judgment dated                       February 21, 2014,         shall remain in effect.
IT IS SO ORDERED.


Order Date:
                                                                                                          Judge 'Signature


Effective Date:                                                       William T. Moore, Jr.
                                                                      Judge, U.S. District Court
                      (if different from order date)                                                 Printed name and title
